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                  BEFORE THE UNITED STATES JUDICIAL PANEL ON
                          MULTIDISTRICT LITIGATION


 In re: COVID-19 Business Interruption
 Insurance Coverage Litigation                          MDL No. _______________



                                       PROOF OF SERVICE

       I hereby certify that a copy of the foregoing Plaintiffs’ Motion for Transfer and

Coordination or Consolidation Under 28 U.S.C. § 1407, the Brief in support of that Motion, the

Schedule of Actions, the Complaints and Docket Sheets for Related Actions which are attached as

exhibits 1 through 11, the Statement Regarding Oral Argument, and this Proof of Service was

served by First Class U.S. Mail and/or electronic mail on April 20, 2020, to the following:

By mail:

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Clerk, Northern District of Illinois
Everett McKinley Dirksen
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219 South Dearborn Street
Chicago, IL 60604

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Clerk, Southern District of Florida
Wilkie D. Ferguson, Jr. U.S. Courthouse
400 North Miami Avenue
Miami, FL 33128

Clerk, Southern District of New York
Courthouse
500 Pearl Street
New York, NY 10007
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Milwaukee, WI 53202

Clerk, Northern District of Ohio
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Clerk, Central District of California – Western Division
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